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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION



 DONALD J. TRUMP, the Forty-Fifth
 President of the United States, ELIZABETH
 ALBERT, KIYAN AND BOBBY
 MICHAEL, AND JENNIFER HORTON,                          CLASS ACTION
 INDIVIDUALLY AND ON BEHALF OF                          COMPLAINT FOR:
 THE CLASS,

                    Plaintiffs,                       FIRST AMENDMENT VIOLATION

                                                      JURY TRIAL REQUESTED
            v.

 FACEBOOK, INC., and MARK
 ZUCKERBERG,

                    Defendants.



                 COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

                                           INTRODUCTION


       1.          Plaintiff, Donald J. Trump, the Forty-Fifth President of the United States,

individually, and on behalf of those similarly situated Putative Class Members, by and through

the undersigned counsel, brings this action against Defendant Facebook, Inc., (“Facebook”), and

its Chief Executive Officer, Defendant Mark Zuckerberg, individually. The allegations herein of

Plaintiff and Putative Class Members are based upon personal knowledge and belief as to their

own acts, and upon the investigation of their counsel, and upon information and belief as to all

other matters.

       2.          As stated in its Community Standards, Defendant Facebook promotes itself as a

service for people “to talk openly about the issues that matter to them, even if some may disagree

or find them objectionable.” Defendant Facebook’s power and influence are immense. It
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currently boasts close to three (3) billion registered Users worldwide and over 124 million Users

in the United States. Defendant Facebook had $86.0 billion in total revenue, for a net profit

margin of 33.9%, in fiscal year 2020.

        3.       Defendant Facebook has increasingly engaged in impermissible censorship

resulting from threatened legislative action, a misguided reliance upon Section 230 of the

Communications Act , 47 U.S.C. § 230, and willful participation in joint activity with federal

actors. Defendant Facebook’s status thus rises beyond that of a private company to that of a state

actor. As such, Defendant is constrained by the First Amendment right to free speech in the

censorship decisions it makes regarding its Users.

        4.       Legislation passed twenty-five (25) years ago intended to protect minors from the

transmission of obscene materials on the Internet, and to promote the growth and development of

social media companies, has enabled Defendant Facebook to grow into a commercial giant that

now censors (flags, removes, shadow bans, etc.) and otherwise restricts with impunity the

constitutionally protected free speech of the Plaintiff and the Putative Class Members.

        5.       The immediacy of Defendants’ threat to its Users, and potentially every citizen’s

right to free speech, cannot be overstated. Defendants’ callous disregard of its Users’

constitutional rights is no better exemplified than in the matter currently before the Court.

        6.       On January 7, 2021, Defendants indefinitely banned the sitting President of the

United States for exercising his constitutional right of free speech.

        7.       Defendants extended their conditional and unconstitutional prior restraint of

Plaintiff’s right to free speech as a private citizen until at least January of 2023.

        8.       Defendants then served warnings to members of President Trump’s family, Team

Trump, other Facebook Users, and Putative Class Members that its ban extends to anyone

attempting to post Donald J. Trump’s “voice.” Censorship runs rampant against the Putative


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Class Members, and the result is a chilling effect cast over our nation’s pressing political,

medical, social, and cultural discussions.

       9.       Plaintiff, a sitting President of the United States, was banned by the Defendants,

as were Putative Class Members, using non-existent or broad, vague, and ever-shifting standards.

While Facebook’s ban and prior restraint of Plaintiff are well-documented, the untold stories of

Putative Class Members are now stirring the public conscience.

       10.      Using unconstitutional authority delegated to them by Congress, Defendants have

also mounted an aggressive campaign of censorship against a multitude of Putative Class

Members through censorship (flagging, shadow banning, etc.) resulting from legislative

coercion.

       11.      Defendants deplatformed Plaintiff at the behest of, with cooperation from, and the

approval of, Democrat lawmakers.

       12.      Akin to forcing a round peg into a square hole, Facebook declared that specific

posts of Plaintiff had violated Facebook’s self-imposed “Community Standards.” Countless

other Facebook Users have not been as fortunate, with Facebook taking detrimental action

against their accounts with no explanation whatsoever.

       13.      If Defendants’ reliance on an unconstitutional delegation of authority to regulate

free speech and under pressure from Congress, can effectively censor, and impose a prior

restraint on the protected political speech of a sitting President of the United States, then the

threat to Putative Class Members, our citizens, and our United States Constitution and form of

government, is imminent, severe, and irreparable.

       14.      Plaintiff respectfully asks this Court to declare that Section 230 on its face is an

unconstitutional delegation of authority, that the Defendants’ actions directed at the Plaintiff and

the Putative Class Members are a prior restraint on their First Amendment right to free speech, to


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order the Defendants to restore the Facebook account of Plaintiff, as well as those deplatformed

Putative Class Members, and to prohibit Defendants from exercising censorship, editorial control

or prior restraint in its many forms over the posts of President Trump, and Putative Class

Members.


                                  JURISDICTION AND VENUE

        15.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, 1332,

28 U.S.C. §§ 2201-2202, and the Constitution of the United States for the unconstitutional

violation of the First Amendment right to free speech as pleaded below.

        16.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332.

        17.      Jurisdiction is also proper in this Court pursuant to the Class Action Fairness Act

28 U.S.C. § 1332(d) (“CAFA”), because: (i) the proposed class consists of well over 1,000,000

Members; (ii) the Members of the proposed Class, including the Plaintiff, are citizens of states

different from Defendant’s home states; and (iii) the aggregate amount in controversy exceeds

$5,000,000, exclusive of interest and costs.

        18.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2), (d), and (e)(1). A

substantial part of the events giving rise to this claim occurred in this District, and Plaintiff

brings this suit for actions taken by Defendants that occurred while Plaintiff was serving in his

capacity as President of the United States, and the Defendants’ prior restraint of Plaintiff’s

speech continues to this day.




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                                             PARTIES

        Plaintiff

        19.     Donald J. Trump (“Plaintiff”), the 45th President of the United States, is a private

citizen and is domiciled in Palm Beach, Florida.

        20.     Elizabeth Albert (“Plaintiff”), a United States citizen, domiciled in the state of

Florida.

        21.     Kiyan and Bobby Michael (“Plaintiffs”), United States citizens, domiciled in the

state of Florida.

        22.     Jennifer Horton (“Plaintiff”), a United States citizen, domiciled in the state of

Michigan.

        Class

        23.     All Facebook platform Users (“Putative Class Members”) who have resided in the

United States between June 1, 2018, and today, and had their Facebook account censored by

Defendants and were damaged thereby.

        Defendants

        24.     Defendant Facebook is a foreign corporation with a principal place of business at

1601 Willow Road, Menlo Park, California, and conducts business in the State of Florida,

throughout the United States, and internationally. Facebook has forty-one (41) offices in the

United States and forty-five (45) offices located worldwide. Facebook has been registered in

Florida as a foreign profit corporation since 2011.

        25.     Defendant Mark Zuckerberg (“Zuckerberg”), is the Chairman and Chief

Executive Officer of Facebook, Inc. Zuckerberg owns a controlling interest in Facebook’s stock,

and upon information and belief, resides in Palo Alto, California.




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                                   STATEMENT OF FACTS

I.      DEFENDANTS FACEBOOK AND ZUCKERBERG


     A. Defendant Facebook

        26.    The United States Supreme Court has recognized that social media platforms such

as Facebook provide “perhaps the most powerful mechanisms available to a private citizen to

make his or her voice heard.” Packingham v. North Carolina, 137 S. Ct. 1730. These platforms

have been revolution[ary],” not least because they have transformed civic engagement by

allowing elected officials to communicate instantaneously and directly with their constituents. Id.

Facebook enables ordinary citizens to speak directly to public officials and listen to and debate

others about public issues, in much the same way they could if gathered on a sidewalk or in a

public park or city council meeting or town hall.

        27.    In 2007, Facebook launched the Facebook platform, which allowed for the

integration of third-party applications, known as “Apps,” and for the website to be integrated into

the larger world wide web through search-engine indexing.

        28.    Facebook actively encourages Users to express their ideas and communicate via

its platform in the forms of comments and “likes” on postings. While encouraging extensive

User engagement, Facebook also collects massive amounts of its Users’ data to sell to

advertisers.

        29.    As a social media conglomerate, Facebook allows Users to publish personal pages

with personal message postings, links to news articles, videos, photographs, and to publicly

interact with other Users through speech. The speech posted on Facebook pages ranges from

Users’ mundane musings on everyday life to the most important new topics of the day, including

political speech.



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          30.   In accordance with its Terms of Service (“TOS”), a Facebook “User” is an

individual who is permitted to create an account on its platform in accordance with its TOS. A

User can post on their “wall,” a type of message board, a variety of speech, including their own

commentary, videos, photographs, and links to news articles. Other Users can view, share and

comment on the content on the User’s wall. Users rate other Users’ content and speech by

giving it “likes.” Users also can send messages directly to each other and are updated by

postings within their network of friends. By communicating with each other, Users create

valuable communications that may become newsworthy.

          31.   Facebook created a Newsfeed for its Users to offer selective postings, news

articles, and targeted advertisements that it determines a User may like, depending n the personal

information and history of that User. Facebook determines which posts and advertisements

appear on a User’s Newsfeed by using an algorithm, which creates a ranking system that predicts

which posts will be most valuable and meaningful to an individual.

          32.   Facebook engages in targeted censorship decisions by using both algorithms and

employees (referred to as “content moderators”) utilizing an internal tool developed by Facebook

called TASKS.

          33.   Facebook’s content moderators use TASKS to entertain censorship suggestions

from employees. Facebook content moderators then often consult with their peers at other

similarly situated social media platforms in deciding who, or what, to censor.

          34.   Facebook and Twitter Inc. employees often coordinate their censorship efforts,

which are authorized and immunized by Section 230. A recent review of domain names on

Facebook’s TASKS platform referred to Twitter domain names, as well as particular phrases,

words, or individuals both Facebook and Twitter were considering censoring, or ultimately did

censor.


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       35.     Within two (2) minutes of one another, Facebook and Twitter suspended

President Trump on January 7, 2021. Such simultaneous censorship and its origins are suspicious

and worthy of the Court’s consideration when evaluating the conduct of the Defendants.

       36.     Facebook also has developed a powerful tracking platform, CENTRA, that allows

Facebook to monitor its Users’ speech and activity, not only on each individual User’s Facebook

page, but also that Users’ speech and activity on any other social media platform across the

entire Internet—and across all of that User’s Internet-connected devices as well.

       37.     By utilizing its CENTRA tracking platform, Facebook has the ability not only to

censor (i.e., flag, shadow ban, etc.) or otherwise constrain its own Facebook Users’

constitutionally protected speech, but also potentially to censor Facebook Users on other social

media platforms.

       38.     Facebook’s TOS contains what it refers to as its “Community Standards” and

states: “These guidelines outline our standards regarding the content you post to Facebook and

your other Facebook products.”

       39.     Facebook’s Community Standards guidelines regarding hate speech, incitement,

or praise of violence are vague, broad, ill-defined, or not defined at all.

       40.     Facebook’s Community Standards Guidelines on Hate Speech read as follows:

       “We define hate speech as a direct attack against people — rather than concepts or
       institutions— on the basis of what we call protected characteristics: race, ethnicity,
       national origin, disability, religious affiliation, caste, sexual orientation, sex, gender
       identity and serious disease. We define attacks as violent or dehumanizing speech,
       harmful stereotypes, statements of inferiority, expressions of contempt, disgust or
       dismissal, cursing and calls for exclusion or segregation. We also prohibit the use of
       harmful stereotypes, which we define as dehumanizing comparisons that have historically
       been used to attack, intimidate, or exclude specific groups, and that are often linked with
       offline violence.”

       41.    Facebook’s Community Standards Guidelines on Incitement of Violence read as

       follows:


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       “We aim to prevent potential offline harm that may be related to content on Facebook.
       While we understand that people commonly express disdain or disagreement by
       threatening or calling for violence in non-serious ways, we remove language that incites
       or facilitates serious violence. We remove content, disable accounts and work with law
       enforcement when we believe there is a genuine risk of physical harm or direct threats to
       public safety. We also try to consider the language and context in order to distinguish
       casual statements from content that constitutes a credible threat to public or personal
       safety.”

       42.       Facebook’s Community Standards Guidelines on Praising Violence read as

       follows:

       “In addition, we do not allow content that praises, substantively supports, or represents
       events that Facebook designates as violating violent events - including terrorist attacks,
       hate events, mass murders or attempted mass murders, multiple murders, or hate crimes.”

       43.       Additionally, Facebook directs Users to another website,

www.oversightboard.com, where Facebook states that an independent review board reviews

content removal and account suspension decisions selectively referred to it by Facebook. When

Facebook referred its indefinite suspension of President Trump to its Oversight Board on January

21, 2021, the Oversight Board had never reviewed the banning by Facebook of a User in the

United States.

       44.       Facebook’s own Oversight Board concluded that the January 21 indefinite

deplatforming of President Trump lacked any basis in its existing, consistently applied

community standards. See Facebook Oversight Board, Case decision 2021-001-FB-FBR.

B. Defendant Mark Zuckerberg

       45.       Defendant Mark Zuckerberg is a co-founder of Facebook, and at all times relevant

hereto has served as Facebook’s Chairman, Chief Executive Officer, and controlling shareholder.

Upon information and belief, He resides in the Northern District of California and is a “person”

who may be sued under 18 U.S.C. § 1961(3).

       46.       According to its 2018 Proxy Statement, Defendant Zuckerberg has the sole power

to elect or remove any director from Facebook’s Board, as he controls a majority (53.3%) of

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Facebook’s total voting shares. Zuckerberg directs and controls Facebook’s business and is

personally responsible for the damages caused by his individual and controlled entities’

misconduct as set forth herein.

       47.     Defendant Zuckerberg was personally involved in, and personally responsible for

the decision to deplatform President Trump. On the morning of January 7, 2021, Zuckerberg

informed high-ranking Facebook officers of his decision that Plaintiff’s Facebook account

should be suspended indefinitely.



II. PLAINTIFF’S USE OF FACEBOOK’S PLATFORM

   A. The Donald J. Trump Facebook account

       48.     Plaintiff established his Facebook account in May of 2009 and used the account

for several years to engage with his followers about politics, celebrities, golf, and his business

interests, among other topics. After he announced his campaign for the presidential nomination

of the Republican Party, Plaintiff used his Facebook account to speak directly to his followers

and the public at large. By using social media, including Facebook, President Trump strategically

circumvented what he saw as a mainstream media that was biased against him.

       49.     After his inauguration as President in January of 2017, Plaintiff’s Facebook

account became an instrument of his presidency. By virtue of the way he used his account,

Plaintiff’s messages became an important source of news and information about the government,

as did his followers’ comments associated with Plaintiff’s posts. Plaintiff’s account became a

public forum for speech by, to, and about government policy.

       50.     When Plaintiff utilized his Facebook account in his official capacity as President:

(a) it became an important outlet for news organizations and the U.S. government; and (b) his

Facebook account operated as a public forum, serving a public function.


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       51.     The comments generated by Plaintiff’s Facebook posts also gave rise to important

public discussion and debate about government policy. Typically, his posts would generate

thousands of replies posted by other Users, some of which would generate hundreds or thousands

of replies in turn. President Trump’s account was a digital town hall in which the President of the

United States communicated news and information to the public directly. Members of the public

used the reply function to respond directly to President Trump and his office and to exchange

views with one another.

       52.     Plaintiff used his Facebook account to interact on a myriad of subjects with the

public at large. Supporters and critics alike were welcome on the President’s Facebook page. No

one was excluded, regardless of their views.

       53.     Plaintiff used Facebook, and other social media platforms, to communicate

directly with the American people more than any other President had directly communicated

with them in the past.

       54.     Not only were Plaintiff’s Facebook posts accessible to his followers, but other

members of the public could, and did, access his posts at any time on the Internet.

       55.     The Putative Class Members used their Facebook accounts in a similar fashion,

sharing information, opinions, photographs, videos, and news with their networks ranging from

friends and family to larger public audiences.



   III. DEMOCRAT LEGISLATORS COERCED DEFENDANTS TO CENSOR THE
       PLAINTIFF AND PUTATIVE CLASS MEMBERS

       56.     Democrat legislators in Congress feared Plaintiff’s skilled use of social media as a

threat to their own re-election efforts. These legislators exerted overt coercion, using both words

and actions, upon Defendants to have Defendants censor the views and content with which

Members of Congress disagreed with, of both the Plaintiff and the Putative Class Members.

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       57.      Not only did Democrat legislators openly voice their displeasure with Defendants

for providing a platform to Plaintiff and Putative Class Members, but they also spoke publicly of

the steps they would take against Defendants if Defendants continued to provide a platform for

the expression of views and content contrary to the legislators’ own agendas.

       58.      Legislators (and in one instance Michelle Obama, the former First Lady) made it

increasingly clear that they wanted Plaintiff and the Putative Class Members, and the views and

content they espoused, to be banned from Defendants’ platform.

       59.        With Defendants shielded from liability for engaging in censorship by Section

230, the Democratic legislators then wielded that immunity, combined with threats to revoke that

immunity or otherwise to regulate Defendants, to use Defendants as a tool to effect censorship

and viewpoint discrimination against Plaintiff and the Putative Class Members that the Democrat

legislators knew they could not accomplish on their own.

       60.      Below are just some examples of Democrat legislators threatening new

regulations, antitrust breakup, and removal of Section 230 immunity for Defendants and other

social media platforms if Facebook did not censor views and content with which these Members

of Congress disagreed, including the views and content of Plaintiff and the Putative Class

Members:

            “But I do think that for the privilege of 230, there has to be a bigger sense of
             responsibility on it. And it is not out of the question that that could be removed.”
             (Rep. Nancy Pelosi, Speaker of the House, April 12, 2019);

            “The idea that it’s a tech company is that Section 230 should be revoked, immediately
             should be revoked, number one. For Zuckerberg and other platforms.” (Joe
             Biden/Interview in December of 2019 and published January 2020);

            “We can and should have a conversation about Section 230 – and the ways in which it
             has enabled platforms to turn a blind eye as their platforms are used to . . . enable
             domestic terrorist groups to organize violence in plain sight.” (Statement of US Sen.
             Mark Warner on Section 230 Hearing on October 28, 2020.);



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    “It’s long past time to hold the social media companies accountable for what’s
     published on their platforms.” (Bruce Reed, Biden’s Top Tech Advisor/December 2,
     2020);

    @jack (Jack Dorsey) Time to do something about this Tweet. (Sen. Kamala Harris’
     Tweet, October 2, 2019);

    2020 Presidential candidate Sen. Kamala Harris calls on Twitter to suspend President
     Trump’s account – ABC News (go.com) 10/2/2019;

    If the president goes on Facebook and encourages violence, that you will make sure
     your company’s algorithms don’t spread that content and you will immediately
     remove those messages? (Sen. Markey October 23, 2020 (Zuckerberg Senate
     Testimony));

    “Senator, yes. Incitement of violence is against our policy and there are not
     exceptions to that, including for politicians.” (Mark Zuckerberg response, (November
     17, 2020 Mark Zuckerberg and Jack Dorsey, Senate Tech Hearing);

    “…Daily, the president shocks our conscience and shakes the very foundations of our
     democracy using a powerful megaphone, social media. The President has used this
     microphone to spread vicious falsehoods and an apparent attempt to overturn the will
     of voters… Now, Mr. Zuckerberg and Mr. Dorsey, you have built terrifying tools of
     persuasion and manipulation with power far exceeding the robber barons of the last
     Gilded Age.” (Sen. Blumenthal (13:35) October 23, 2020: Tech CEO’s Senate
     Testimony)

    I have urged, in fact, a breakup of tech giants because they’ve misused their bigness
     and power. And indeed Section 230 reform, meaningful reform, including even
     possible repeal in large part because their immunity is way too broad and victims of
     their harms deserve a day in court. (Sen Blumenthal (14:48) October 23, 2020: Tech
     CEO’s Senate Testimony)

    “Now is the time for Silicon Valley companies to stop enabling this monstrous
     behavior and go even further than they have already by permanently banning this man
     (Trump) from their platforms. (Michelle Obama on Twitter, January 7, 2021)

    “The law (230) acts as a shield allowing them (Internet platforms) to turn a blind eye.
     The SAFE TECH ACT brings 230 into the modern age and makes platforms
     accountable for the harm they cause.” (Sen. Mazie Hirono’s Tweet, February 5,
     2021)

    Before the hearing the following statement was issued by the respective Democrat
     Chairmen. “This hearing will continue the Committee’s work of holding online
     platforms accountable for the growing rise of misinformation and disinformation.
     Industry self-regulation has failed. We must begin the work of changing incentives
     driving social media companies to allow and even promote misinformation and

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             disinformation.” (March 2021 Joint Hearing of the Communications and Technology
             Subcommittee)

            “There’s no Constitutional protection for using social media to incite an insurrection.
             Trump is willing to do anything for himself no matter the danger to our country. His
             big lies have cost America dearly. And until he stops, Facebook must ban him.
             Which is to say, forever.” (Rep. Adam Schiff’s Tweet, May 5, 2021)

       61.      Democrat legislators not only voiced their threats (e.g., new regulations and

removing Section 230 immunity) to social media platforms but also employed additional

measures to deliver their unmistakable message that they were prepared to act against the social

media platforms if Defendants did not increase their censorship of disfavored views and content

of Plaintiff and Putative Class Members.

       62.      These additional measures included convening public hearings, issuing

subpoenas, dragging in the CEOs of the largest social media companies to testify publicly before

Congress, and subjecting these CEOs to lengthy, embarrassing questioning.

       63.      Some specific examples of when these coercive measures were extended on

Defendants:

       On July 29, 2020, Four Big Tech CEOs testified before the House in an antitrust hearing.
       Amazon Founder and CEO Jeff Bezos, Zuckerberg, Apple CEO Tim Cook, and Alphabet
       and Google CEO Sundar Pichai attempted to defend their companies against accusations
       of anticompetitive practices. (Online Platforms and Market Power, Part 6: Examining the
       Dominance of Amazon, Apple, Facebook, and Google | U.S. House of Representatives
       Judiciary Committee); and

       On October 23, 2019, Mark Zuckerberg Testimony Transcript: Zuckerberg Testifies on
       Facebook Cryptocurrency Libra and Is Confronted on Child Exploitation on Facebook.
       (Zuckerberg Testifies on Facebook Cryptocurrency Libra | October 23, 2019); and

       On November 17, 2020, Zuckerberg and Twitter CEO Jack Dorsey testified before the
       Senate Judiciary Committee on November 17, 2020. They were questioned on speech
       moderation policies. (Censorship, Suppression, and the 2020 Election | Hearings |
       November 17, 2020); and

       On March 25, 2021, Zuckerberg, Twitter's Jack Dorsey, and Google's Sundar Pichai
       appeared virtually before the House Energy and Commerce Committee. (House Hearing
       on Combating Online Misinformation and Disinformation | March 25, 2021).


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       64.     With this coercion directed at Defendants by repeatedly requiring their

appearance at hearings, and reinforcing their potential to impose regulations, and strip them of

230 immunity, Democrat legislators intended to force Defendants into permanently banning

Plaintiff’s access to his Facebook account, his followers, and the public at large. The ancillary

benefit was to deny the public access to Plaintiff’s content and views.

       65.     The message conveyed by Democrat legislators to Defendants was clear: use the

authority of Section 230 to ban Plaintiff and those Putative Class Members who posted content

and views contrary to these legislators preferred points of view or lose the competitive

protections of Section 230 and tens of billions of dollars of market share altogether.

       66.     The legislators who pressured Defendants to censor Plaintiff and Putative Class

Members who supported his views employed social media themselves extensively to

communicate with their own constituents, promote their accomplishments in office, and

fundraise and campaign.

       67.     With Plaintiff removed from Facebook, it is considerably more difficult for

Plaintiff to act as head of the Republican Party, campaign for Republican candidates, fundraise,

and lay the groundwork for his own potential campaign run for the 2024 Republican Party

nomination for President of the United States.

       68.     Likewise, with Plaintiff now removed from Facebook and other social media

platforms, it has ended balanced, direct public discussions between competing political views on

national and local issues.

       69.     By banning Plaintiff, Defendants made it more difficult for Plaintiff to

communicate directly with the American public. Our national discourse is becoming



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immeasurably more altered and one-sided on race, medicine, the election process, the economy,

immigration, etc.

   IV. CONGRESSIONAL LEGISLATION SIGNIFICANTLY ENCOURAGED
       DEFENDANTS’ CENSORSHIP OF PLAINTIFF AND THE PUTATIVE CLASS
       MEMBERS

       70.     Facebook is currently one of the largest, if not the largest, of the social media

platforms. Its very existence and growth have been directly fueled by Congressional legislation.

       71.     In 1996, Congress passed the Community Decency Act of 1996, which amended

the Telecommunications Act of 1934 Section 230(c) intending to promote the growth and

development of social media platforms and protect against the transmission of obscene materials

over the Internet to children.

       72.     It is this Congressional legislation, commonly referred to as simply Section 230,

or the “Good Samaritan” provision, that Facebook relies on to censor constitutionally

permissible free speech of Plaintiff and the Putative Class Members.

       73.     Section 230(c) provides:

       (1). TREATMENT OF PUBLISHER OR SPEAKER
       No provider or User of an interactive computer service shall be treated as the publisher or
       speaker of any information provided by another information content provider.

       (2). CIVIL LIABILITY
       No provider or User of an interactive computer service shall be held liable on account
       of—
                     A. any action voluntarily taken in good faith to restrict access to or
                        availability of material that the provider or User considers to be
                        obscene, lewd, lascivious, filthy, excessively violent, harassing, or
                        otherwise objectionable, whether or not such material is
                        constitutionally protected; or
                     B. any action taken to enable or make available to information content
                        providers or others the technical means to restrict access to material
                        described in paragraph (1).

       74.     Section 230(c) has accomplished and exceeded its original purpose in terms of

promoting the growth and development of social media platforms.

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       75.     For example, founded in 2007, Facebook has grown to close to three (3) billion

Users, had revenue in 2020 of roughly eighty-six (86) billion dollars, and recently attained

market value surpassing one (1) trillion dollars.

       76.     However, in terms of its other stated purpose, addressing the transmission of

obscene materials to minors over the Internet, Facebook has failed.

       77.     Recently, the issue of child sexual abuse materials was raised to Zuckerberg by

Missouri Congresswoman Ann Wagner at an October 2020 hearing on Facebook: “16.8

million… reports of child sexual abuse materials are on Facebook. These… included a recorded

45 million photos and videos. These are absolutely shocking numbers.” (U.S. House Committee

on Financial Services, entitled, “An Examination of Facebook and Its Impact on the Financial

Services and Housing Sectors.” October 23, 2019.)

       78.     Congresswoman Wagner’s complaint was that Facebook was planning on

implementing an encryption program that would protect and shield the criminals who were using

the images in the sex exploitation arena. (U.S. House Committee on Financial Services, entitled,

“An Examination of Facebook and Its Impact on the Financial Services and Housing Sectors.”

October 23, 2019.)

       79.     Human smugglers are openly advertising their services on Facebook, falsely

telling Central Americans interested in crossing illegally into the United States that they can

promise a “100[%] safe journey,” NBC News reported in April, citing Department of Homeland

Security officials, immigration experts, and lawyers.

       80.     As discussed in the Harvard Journal of Law & Public Policy, Leary, Mary Graw,

The Indecency and Injustice of Section 230 of the Communications Decency Act, Vol. 41, No. 2,

pg. 564, 565 (2018):

       Congress expressly stated that th[is] is the policy of the United States ‘to ensure vigorous
       enforcement of Federal criminal laws to deter and punish trafficking in obscenity,

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       stalking, and harassment by means of computer.’ That said, Congress appeared to
       recognize that unlimited tort-based lawsuits would threaten the then-fragile Internet and
       the ‘freedom of speech in the new and burgeoning Internet medium.’
       Although these two goals required some balancing, it was clear from the text and
       legislative history of § 230 that it was never intended to provide a form of absolute
       immunity for any and all actions taken by interactive computer services. Section 230 is
       not ‘a general prohibition of civil liability for web-site operators and other content hosts.’
       Rather, Congress sought to provide limited protections for limited actions.

       81.     In passing 230(c), Congress permits, but does not mandate, action be taken by

social media platforms.

            Section 230(c) permits Facebook to take down or block speech deemed
       “objectionable… whether or not such material is constitutionally protected.”

            Section 230(c) also pre-empts all conflicting state laws, preventing such censorship
       from being “made illegal… by any provisions of the laws of a State.”


       82.     In relying on the permissive language of Section 230 and statements and actions

of Democrat legislators, those legislators made it clear that they had a “strong preference” for the

censoring of the views and content of Plaintiff and Putative Class Members regarding, for

example:



            COVID-19 “misinformation,” including the lack of safety and efficacy of
       hydroxychloroquine and the use of face masks.

            COVID-19 originated in the Wuhan province of China and was a transmission
       from scientists in a government.

              Questioning the integrity and results of the 2020 Presidential election.



       83.     Neither Plaintiff nor Putative Class Members were free to decline the speech

restrictions imposed by Facebook in its TOS if they wished to use the Facebook platform. Use of




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its platform was expressly conditioned on agreeing to these restrictions, or User access was

denied.

          84.     Federal actors are also sharing the fruits of Facebook censorship of Plaintiff and

Members of the Class. These benefits include (without limitation):

              The Centers for Disease Control and Prevention (CDC) and the White House have
used Defendants to inexpensively and effectively promote their directives, messages, and
policies concerning COVID-19; and suppress contradictory medical views and content.

             suppression of information suggesting or showing flaws in CDC and/or other
federal governmental policy

                 increasing the number of visitors to the CDC’s website;

               boosting the CDC’s highly questionable reputation as reliable and authoritative in
its factual and policy determinations;

            creating a false impression of unequivocal support in the scientific community for
the CDC and other governmental directives;

              and suppression of opinions and information that might lead people to take
actions contrary to the government’s preferences.


   V. DEFENDANTS WILLFUL PARTICIPATION IN JOINT ACTIVITY WITH
      FEDERAL ACTORS TO CENSOR PLAINTIFF AND THE PUTATIVE CLASS
      MEMBERS

          85.     The CDC has publicly stated that it works with “social media partners,” including

Facebook, to “curb the spread of vaccine misinformation.” In a document dated October 11,

2019, the CDC expressly stated that it was “engaging . . . partners” to “contain the spread of

[vaccine] misinformation” and specifically states that the CDC would “work with social media

companies” to that end.

          86.     Facebook is among the social media “partners” referred to by the CDC.




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       87.    Defendants worked directly and in concert with the Centers for Disease Control

and Prevention (CDC) and Dr. Anthony Fauci, Director of National Institute of Allergy and

Infectious Diseases (NIAID) to advance only the narrative that Defendants and Dr. Fauci

subscribe to, according to publicly available emails that recently came from a Freedom of

Information Act (FOIA) release.

       88.    However, in an email chain from March 15 – 17, 2020, between Defendant

Zuckerberg and Dr. Anthony Fauci, it is clear that the CDC, a government agency, was more

than engaging “partners” merely to contain the spread of vaccine “misinformation.” The

following is a copy of a March 15, 2020, email from that chain:




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       89.    In response to Zuckerberg’s email, National Institute of Health (NIH)

Communications Director Courtney Billet sent Dr. Fauci an email the next day, March 16, 2020,

which read:




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       90.    Fauci responded to Billet by email the following day, March 17, 2020.




       91.    Dr. Fauci also responded by email to Zuckerberg that same day, March 17, 2020,

agreeing to the collaboration Zuckerberg proposed.




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       92.     All the redactions referred to in the above emails are notated “(b)(4)” indicating

that the purported legal basis for the redaction was commercial or financial information.” See 5

U.S.C. § 552(b)(4).

       93.     In April of 2020, following the surreptitious emails between Dr. Fauci, NIH

Communications Director Billet and Defendant Zuckerberg, Defendants would begin what

became a concerted, massive, system-wide, and indeed worldwide program of monitoring

COVID-related views and content and censor posts deemed false claims by Facebook.

       94.     Facebook’s “COVID and Vaccine Policy” states Facebook does “not allow false

claims about the vaccines or vaccination programs which public health experts have advised us

could lead to COVID-19 vaccine rejection” and other “false claims” that “could lead to negative

outcomes.” Facebook, COVID-19 and Vaccine Policy Updates & Protections,

https://www.facebook.com/help/230764881494641.

       95.     The Policy clarifies that what Facebook means by “false” is not actual or factual

falsity, but rather whether the claim contradicts or challenges the pronouncements or

recommendations propounded by public health authorities, including the CDC. See id. (stating

that Facebook removes vaccine-related content).


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         96.    A senior official in the Biden Administration has stated that the White House has

been involved in “direct engagement” with social media companies, specifically including

Facebook, to remove so-called COVID or vaccine “misinformation,” and Facebook has publicly

confirmed that it assists the White House in achieving this objective.

         97.    Defendants thus acted to censor other medical opinions that did not uphold that

narrative of Dr. Fauci and the CDC, which took on both a political and medical nature, given the

interconnection between government policy and science.

         98.    Facebook’s censorship (i.e., flagging, shadow banning, etc.) of Users who

engaged in speech with a different opinion regarding the COVID-19 vaccination than Facebook

advanced for Dr. Fauci and the CDC, irrespective of the credentials of those posting said

different opinions, was a closely coordinated interaction between Defendants and a specific

government actor (Dr. Fauci) and government agency (CDC) to constrain free speech.

         99.    When Facebook states or implies that Users who espouse a different narrative

regarding the safety and efficacy of the vaccination are spreading “false” information, it is an act

of bad faith. It is necessary in society for people to have a robust exchange of ideas, yet

Zuckerberg and Facebook have worked closely with government actors to silence any opposing

views.

         100.   Before, during, and after the 2020 Presidential election, Plaintiff’s Facebook

account was censored multiple times, as were the accounts of Putative Class Members for the

views they expressed or content they shared on Facebook. For example:




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       101.    Another example of Defendants working directly with government actors to

censor free speech was when Plaintiff and Putative Class Members supported the view that

hydroxychloroquine might be an effective, preventative option to protect against the coronavirus.

       102.    Plaintiff and Putative Class Members’ posts about hydroxychloroquine were

censored by Facebook, as only the narrative crafted by Dr. Fauci, NIAID, and the CDC was

allowed on Facebook regarding best practices for treating the novel COVID-19.

       Defendant Zuckerberg has admitted to this in his House Anti-trust Hearing testimony on
       July 29, 2020. “So we do take that down,” Zuckerberg told a House panel, treading on
       hydroxychloroquine. “It has not been proven to cure COVID,” Zuckerberg told Rep. Jim
       Sensenbrenner (R-WI). “Some of the data suggests that it might be harmful to people,”
       although medical professionals openly disagreed with Zuckerberg’s conclusion, and it
       has been approved for other ailments like malaria for decades.

       103.    Plaintiff also expressed the view on Facebook that COVID-19 originated in the

Wuhan laboratory in China and would specifically refer to it as the “China virus.”

       104.    Subsequently, Facebook Users posting comments discussing the Wuhan

laboratory in China as the origin of COVID-19 or referring to COVID-19 as the “China virus”

were similarly censored (flagged, shadow banned, etc.)

       105.    Other instances when Defendants also worked directly with government actors to

censor free speech included when Plaintiff challenged the integrity of the 2020 Presidential

election process and the results of the 2020 Presidential election, supra paragraph 97.

       106.    Posts concerning a lack of integrity in the 2020 Presidential election were then

similarly censored.

       107.    Defendants’ ban on Plaintiff and Putative Class Members continues to this day.

The ban directly impacted Plaintiff’s ability to communicate with family and friends and

politically, including: (1) daily communications necessitated by his unquestioned position as

head of the Republican Party; (2) campaigning for Republican 2022 candidates; (3) fundraising

for the Republican Party; (4) laying a foundation for a potential 2024 Presidential campaign.

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    VI. PRESIDENT TRUMP AND THE CLASS DEPLATFORMED

    A. Plaintiff President Trump

        108.   Plaintiff’s Facebook posts on January 6, 2021, were used in his official capacity

as President of the United States and served a public function in posting his robust political

rhetoric addressed to those who had attended his rally that day.

        109.   On January 7, 2021, Facebook, at the personal direction of Zuckerberg, censored

Plaintiff’s Facebook account, blocking his ability to communicate with his approximately thirty-

five (35) million followers and the ability of Plaintiff’s approximately thirty-five (35) million

followers to hear, and comment on, the views and content of the speech he was expressing.

        110.   In early January of 2021, as Defendant Zuckerberg was directing these decisions

of constitutional import regarding the Plaintiffs right of free speech, Defendant was at his

vacation home in Kauai, Hawaii.

        111.   On January 7, 2021, Zuckerberg issued a public statement to the effect that

Plaintiff had posted messages on his Facebook page on January 6, 2021, that could be interpreted

by Facebook as inciting violence, specifically citing the events of January 6, 2021, stating in

part:

        We believe the risks of allowing the President to continue to use our service during this
        period are simply too great. Therefore, we are extending the block we have placed on his
        Facebook and Instagram accounts indefinitely and for at least the next two weeks until
        the peaceful transition of power is complete.

        112.   On January 7, 2021, at the direction of Zuckerberg, Facebook blocked President

Trump’s accounts and threatened his family and associates with deletion of their personal

accounts if they attempted to post in the “voice” of Donald J. Trump the warnings read as

followers:




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       113.   On June 4, 2021, as a result of a scathing opinion from its Oversight Board issued

on May 5, 2021, Facebook announced new policies that resulted in a definitive two-year ban


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from Facebook for Plaintiff, through January 21, 2023, conveniently beyond the midterm

elections of 2022.

       114.    In October of 2020, Facebook formed an Oversight Board, which consists of

twenty (20) people around the world, six (6) members from the United States, and forty (40)

people when fully staffed. The Oversight Board is described as the Facebook “Supreme Court.”

The purpose of the Board is to review “select” cases, review content decisions of Facebook staff,

analyze whether the decisions made by Facebook are compliant with their set guidelines and

standards, and ensure free speech flourishes on Facebook and Instagram platforms.

       115.    The Oversight Board met for the first time at the end of January 2021, reviewed

five cases, and overturned four of the five decisions under review. (Oversight Board overturns

Facebook decision: Case 2020-002-FB-UA | Oversight Board)

       116.    On January 7, 2021, Mark Zuckerberg unilaterally decided to “indefinitely

suspended” Donald J Trump’s Facebook and Instagram accounts.

       117.    On May 5, 2021, the Oversight Board reviewed the decision made by Mark

Zuckerberg to delete Facebook President Trump’s Facebook account. The Oversight Board,

operating with half the members intended, issued an order which stated in part:

       It is not permissible for Facebook to keep a user off the platform for an undefined period,
       with no criteria for when or whether the account will be restored. In applying this
       penalty, Facebook did not follow a clear, published procedure. ‘Indefinite’ suspensions
       are not described in the company’s content policies. Facebook’s normal penalties include
       removing the violating content, imposing a time-bound period of suspension, or
       permanently disabling the page and account. It is Facebook’s role to create necessary and
       proportionate penalties that respond to severe violations of its content policies. The
       Board’s role is to ensure that Facebook’s rules and processes are consistent with its
       content policies, its values and its human rights commitments.


       118.    The Oversight Board went on to state that they would not decide on how long

Plaintiff would be banned from the platform, instead ordering Facebook leadership to “supply

and justify a defined penalty.” The Oversight Board also made multiple recommendations,

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including some suggestions regarding Facebook standards and policies. The case of President

Trump was, in essence, remanded back to Mark Zuckerberg to define a penalty in accordance

with their ruling.

       119.    On June 4, 2021, Facebook responded to the Oversight Boards’ ruling, changed

its policies regarding political figures, and suspended President Trump for at least 2 years until

January 2023. Facebook included that if President Trump were reinstated in 2023, there would

be a strict set of rapidly escalating sanctions applicable to his account.

       “At the end of this period, we will look to experts to assess whether the risk to public
       safety has receded. We will evaluate external factors, including instances of violence,
       restrictions on peaceful assembly and other markers of civil unrest…”
       -Nick Clegg, Facebook’s Vice President of Global Affairs


       120.    In a far more sweeping gesture, Facebook pivoted on its policy of assessing the

newsworthiness of accounts and posts in its analysis of whether to delete content. The

newsworthiness balancing test is now applied equally to all users, and the political status of a

User would no longer be considered.

       121.    While Facebook’s censoring of Plaintiff was the most widely publicized action

taken by Defendants, countless other Putative Class Members have had their views or content

similarly deplatformed or censored by Defendants for arbitrary reasons or no reason at all.

       122.    These Putative Class Members censored by Defendants lost not only a primary

means of communicating with friends and family but also their ability to access wide-ranging

views and content on the most pressing issues of the day.

   B. Plaintiff Elizabeth Albert

       123.    Plaintiff Elizabeth Albert (“Mrs. Albert”) is a United States citizen residing in

Greenacres, Florida.




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       124.    In 2007, Mrs. Albert opened a personal Facebook account where she regularly

posted photos of her family and used the platform to share news such as her wedding day, the

birth of her children, birthdays, and vacations. Mrs. Albert’s personal Facebook account had

never been warned, censored, or flagged by Facebook for the content of her posts.

       125.    In 2018, Mrs. Albert became an administrative member of the Facebook page

called “#WalkAway Campaign.” “WalkAway Campaign” was a Facebook group and page that

allowed Users to share their personal stories of why they decided to leave the Democrat party.

       126.    On January 8, 2021, without warning, the Defendants deleted the “#WalkAway

Campaign” group and page. They additionally banned the personal accounts of all page

administrators and the business pages they managed, including Mrs. Albert.

       127.    Defendants banned Plaintiff Albert’s personal Facebook account, which resulted

in her loss of thousands of treasured family photos and memories.

   C. Plaintiffs Kiyan and Bobby Michael

       128.    Plaintiffs Kiyan and Bobby Michael (together, the “Michaels”) are United States

citizens residing in Florida.

       129.    In 2019 the Michaels opened a joint Facebook page where they shared family

photos, religious beliefs as Christians, tips on gardening, recipes, and their political views.

       130.    Before 2020, the Michaels’ account had never been warned, censored, or flagged

by Facebook for the contents of its posts.

       131.    Beginning in January of 2020, the Michaels began to have content on their

Facebook page censored by Facebook. To the Michaels’ knowledge, the censorship took place

more than three (3) times in the form of content relating to COVID-19 and support for President

Donald Trump and his policies being removed by Facebook.




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       132.    The Michaels now experience a delay when they post things to their personal

page and notice that their page is heavily monitored and “fact-checked.” Below are a few

examples of censorship the Defendants have used against them.




   D. Plaintiff Jennifer Horton

       133.    Plaintiff Jennifer Horton (“Ms. Horton”) is a United States citizen residing in

Fenton, Michigan. Ms. Horton has been an elementary school teacher since 1994.

       134.    In roughly 2009, Ms. Horton created a personal Facebook account where she

regularly shared photos of her family, posted updates on major life events, shared professional

accomplishments, and used the page to post her opinions on the news of the day.

       135.    To her recollection, Ms. Horton had only been censored on one other occasion

when she saved another user’s post regarding vaccines to read later. She received a warning from

the Defendant that the post she saved was false information.

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         136.   In April of 2021, the Governor of Michigan, Gretchen Whitmer, mandated

children under two (2) years wear face masks during gatherings.

         137.   In response to this mandate, Ms. Horton posted on her Facebook wall an article

listed on the NIH government website that challenged the safety and efficiency of children

wearing masks. Plaintiff posted with the article, “If your child wears a mask all day at school,

this article from National Institute of Health is a must-read. Link in comments.” Screenshot

below:




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       138.    On April 17, 2021, Plaintiff’s brother in Tennessee went missing, and she began

using Defendant’s platform to communicate with missing persons pages and others living in

Tennessee.

       139.    On April 29, 2021, her account was suspended for 24 hours, and she was notified

it was due to her post.

       140.    The Plaintiff felt helpless and hopeless not being able to access the platform that

she had turned to for over 10 years to distribute information and that she used to communicate

with larger networks that may have helped her locate her brother.

       141.    After being shut down, Plaintiff was terrified of how to operate within the

boundaries of the Defendants’ Terms of Service because she did not want to lose her ability to

communicate again.

       142.    Nearly 2 months later, Plaintiff’s brother was found deceased. She was left

devastated, wondering if she could have prevented his death had she been able to communicate

with her network on Facebook.

       143.     Defendant lied and deceived the Plaintiff and the American people when it was in

its infancy and growth stage. They marketed themselves as a town square and a safe place for

users to communicate and discuss personal news, professional news, and their feelings on topics

relating to news of the day.

       144.    For years, Plaintiff was reliant on the platform as a communication tool with

friends, family, and community.

       145.    At one of the most difficult times of her life, when communication with her

“network” was the most important, Defendants took her voice away from her due to her post

regarding masks.




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                                           COUNT ONE

      VIOLATION OF THE FIRST AMENDMENT TO THE U.S. CONSTITUTION

        146.    Plaintiff restates the allegations set forth in paragraphs 1-145.

        147.    Pursuant to Section 230, Defendants are encouraged and immunized by Congress

to censor constitutionally protected speech on the Internet, including by and among its

approximately three (3) billion Users that are citizens of the United States.

        148.    Using its authority under Section 230 together and in concert with other social

media companies, the Defendants regulate the content of speech over a vast swath of the

Internet.

        149.    Defendants are vulnerable to and react to coercive pressure from the federal

government to regulate specific speech.

        150.    In censoring the specific speech at issue in this lawsuit and deplatforming

Plaintiff, Defendants were acting in concert with federal officials, including officials at the CDC

and the Biden transition team.

        151.    As such, Defendants’ censorship activities amount to state action.

        152.    Defendants’ censoring the Plaintiff’s Facebook account, as well as those Putative

Class Members, violates the First Amendment to the United States Constitution because it

eliminates the Plaintiffs and Class Member’s participation in a public forum and the right to

communicate to others their content and point of view.

        153.    Defendants’ censoring of the Plaintiff and Putative Class Members from their

Facebook accounts violates the First Amendment because it imposes viewpoint and content-

based restrictions on the Plaintiffs’ and Putative Class Members’ access to information, views,

and content otherwise available to the general public.




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       154.    Defendants’ censoring of the Plaintiff and Putative Class Members violates the

First Amendment because it imposes a prior restraint on free speech and has a chilling effect on

social media Users and non-Users alike.

       155.    Defendants’ blocking of the Individual and Class Plaintiffs from their Facebook

accounts violates the First Amendment because it imposes a viewpoint and content-based

restriction on the Plaintiff and Putative Class Members’ ability to petition the government for

redress of grievances.

       156.    Defendants’ censorship of the Plaintiff and Putative Class Members from their

Facebook accounts violates the First Amendment because it imposes a viewpoint and content-

based restriction on their ability to speak and the public’s right to hear and respond.

       157.    Defendants’ blocking the Plaintiff and Putative Class Members from their

Facebook accounts violates their First Amendment rights to free speech.

       158.    Defendants’ censoring of Plaintiff by banning Plaintiff from his Facebook account

while exercising his free speech as President of the United States was an egregious violation of

the First Amendment.

       159. Defendant Zuckerberg is sued in his personal capacity and is liable in damages

because he was personally responsible for Facebook’s unconstitutional censorship of Plaintiff

and the Putative Class Members, including Facebook’s deplatforming of Plaintiff and other

Putative Class Members.

       160. Zuckerberg is also sued in his official capacity, along with Facebook itself, for

injunctive relief to and the unconstitutional censorship of the Plaintiff and Putative Class

Members, including Facebook’s deplatforming of Plaintiff and other Putative Class Members.




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                                                COUNT TWO

        DECLARATORY JUDGEMENT OF UNCONSTITUTIONALITY OF SECTION
                230 AND THE COMMUNICATIONS DECENCY ACT

       161. Plaintiff restates the allegations set forth in 1-160.

       162. In censoring (flagging, shadow banning, etc.) Plaintiff and the Class, Defendants

relied upon and acted pursuant to Section 230 of the Communications Decency Act.

       163. Defendants would not have deplatformed Plaintiff or similarly situated Putative

Class Members but for the immunity purportedly offered by Section 230.

       164. Section 230(c)(2) purports to immunize social media companies from liability for

action taken by them to block, restrict, or refuse to carry “objectionable” speech even if that

speech is “constitutionally protected.” 47 U.S.C. § 230(c)(2).

       165. In addition, Section 230(c)(1) also has been interpreted as furnishing an additional

immunity to social media companies for action taken by them to block, restrict, or refuse to carry

constitutionally protected speech.

       166. Section 230(c)(1) and 230(c)(2) were deliberately enacted by Congress to induce,

encourage, and promote social medial companies to accomplish an objective—the censorship of

supposedly “objectionable” but constitutionally protected speech on the Internet—that Congress

could not constitutionally accomplish itself.

       167. Congress cannot lawfully induce, encourage or promote private persons to

accomplish what it is constitutionally forbidden to accomplish.” Norwood v. Harrison, 413 US

455, 465 (1973).

       168. Section 230(c)(2) is therefore unconstitutional on its face, and Section 230(c)(1) is

likewise unconstitutional insofar as it has interpreted to immunize social media companies for

action they take to censor constitutionally protected speech.



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       169. Section 230(c)(2) on its face, as well as Section 230(c)(1) when interpreted as

described above, are also subject to heightened First Amendment scrutiny as content- and

viewpoint-based regulations authorizing and encouraging large social media companies to censor

constitutionally protected speech on the basis of its supposedly objectionable content and

viewpoint. See Denver Area Educational Telecommunications Consortium, Inc. v. FCC, 518

U.S. 727 (1996).

       170. Such heightened scrutiny cannot be satisfied here because Section 230 is not

narrowly tailored, but rather a blank check issued to private companies holding unprecedented

power over the content of public discourse to censor constitutionally protected speech with

impunity, resulting in a grave threat to the freedom of expression and to democracy itself;

because the word “objectionable” in Section 230 is so ill-defined, vague and capacious that it

results in systematic viewpoint-based censorship of political speech, rather than merely the

protection of children from obscene or sexually explicit speech as was its original intent; because

Section 230 purports to immunize social media companies for censoring speech on the basis of

viewpoint, not merely content; because Section 230 has turned a handful of private behemoth

companies into “ministries of truth” and into the arbiters of what information and viewpoints can

and cannot be uttered or heard by hundreds of millions of Americans; and because the legitimate

interests behind Section 230 could have been served through far less speech-restrictive measures.

       171. Accordingly, Plaintiff, on behalf of himself and the Class, seeks a declaration that

Section 230(c)(1) and (c)(2) are unconstitutional insofar as they purport to immunize from

liability social media companies and other Internet platforms for actions they take to censor

constitutionally protected speech.

                                     CLASS ACTION ALLEGATIONS




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       172. Plaintiff and the Class brings this lawsuit pursuant to Rule 23(b)(2) and (3) of the

Federal Rules of Civil Procedure on behalf of the following proposed class (the “Class”):



All Facebook platform Members who reside in the United States, and between June 1, 2018, and today, had

   their access to their social media accounts wrongly restricted or curtailed by these Defendants and who were

                                               damaged thereby.



       173.     Subject to additional information obtained through further investigation and disco

very, the foregoing definition of the Class may be expanded or narrowed by amendment

or amended complaint.

       174.     Specifically excluded from the Class are Defendants, its officers, directors,

agents, trustees, parents, children, corporations, trusts, representatives, employees, principals,

servants, partners, joint venturers, or any entities controlled by Defendant, and its heirs,

successors, assigns, or other persons or entities related to or affiliated with Defendant and/or its

officers and/or directors, the judge assigned to this action, and any member of the judge’s

immediate family.

       175.     Numerosity. The Members of the Class are so numerous that individual joinder is

impracticable. Upon information and belief, Plaintiff and the Class alleges that the Class contains

hundreds of thousands of Members. Although the precise number of Putative Class Members is

unknown to Plaintiff and the Class, the true number of Putative Class Members is known by

Defendants, and thus, may be notified of the pendency of this action by first class mail,

electronic mail, social media, and/or published notice.

       176. Existence and predominance of common questions of law and fact. Common

questions of law and fact exist as to all Members of the Class and predominate over any


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questions affecting only individual Putative Class Members. These common legal and factual

questions include, but are not limited to, the following:

       (a) whether the Defendants’ conduct violated the First Amendment of the Constitution of

       the United States

       (b) whether Section 230 is an unconstitutional delegation of power Congress cannot

       exercise.

       (c) whether the Defendants conduct violates any other state or federal statutes.

       177.    Typicality. Plaintiff and the Class’s claims are typical of the claims of the other

Members of the Class in that Defendants arbitrarily prevented Plaintiff and the Class and

Putative Class Members from using their social media accounts or curtailed or limited Plaintiff

and the Class and the Class’ use of their accounts to inhibit or prevent Plaintiff and the Class

from engaging in speech that Defendants disliked or contrary to Defendants’ opinions or beliefs,

in violation of the First Amendment of the U.S. Constitution.

       178. Adequacy of representation. Plaintiff and the Class will fairly and adequately

protect the interests of the Class. Plaintiff and the Class have retained counsel highly experienced

in complex consumer class action litigation, and Plaintiff and the Class intend vigorously to

prosecute this action. Further, Plaintiff and the Class have had no interests that are antagonistic to

those of the Class.

         179. Superiority. A class action is superior to all other available means for the fair and

 efficient adjudication of this controversy. The damages or other financial detriment suffered by

 individual Putative Class Members is relatively small compared to the burden and expense that

 would be entailed by individual litigation of their claims against Defendant. It would thus be

 virtually impossible for the Class, on an individual basis, to obtain effective redress for the

 wrongs committed against them. Furthermore, even if Putative Class Members could afford


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such individualized litigation, the court system could not. Individualized litigation would create

the danger of inconsistent or contradictory judgments arising from the same set of facts.

Individualized litigation would also increase the delay and expense to all parties and the court

system from the issues raised by this action. By contrast, the class action device provides the

benefits of adjudication of these issues in a single proceeding, economies of scale, and

comprehensive supervision by a single court and presents no unusual management difficulties

under the circumstances here.

       89.    The Class may also be certified because:

              (a)     the prosecution of separate actions by individual Putative Class
              Members would create
              a risk of inconsistent or varying adjudication with respect to individual Putative
              Class Members that would establish incompatible standards of conduct for the
              Defendant;

              (b) the prosecution of separate actions by individual Putative Class Members
              would create a risk of adjudications with respect to them that would, as a practical
              matter, be dispositive of the interests of other Putative Class Members not parties
              to the adjudications, or substantially impair or impede their ability to protect their
              interests; and/or

              (c) Defendant has acted or refused to act on grounds generally applicable to the
              Class as a whole, thereby making appropriate final declaratory and/or injunctive
              relief with respect to the Members of the Class as a whole.



                                DEMAND FOR JURY TRIAL

      90.     Plaintiff and the Class demand a trial by jury on all issues so triable.




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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Donald J. Trump and the Class respectfully request that the

Court enter an Order certifying this case as a class action, appointing Plaintiff as Class

Representative and appointing Plaintiff’s counsel as Lead Class Counsel and that the Court

Order, adjudge, and decree in favor of Plaintiff and the Class against the Defendants for:

       A. An award of Compensatory and Punitive damages to the Plaintiff and the Class in an

           amount to be determined at trial;

       B. An injunction and declaratory judgment ordering Facebook immediately to reinstate

           Plaintiff and Putative Class Members to their Facebook accounts;

       C. An injunction and declaratory judgment ordering Facebook to remove its warning

           labels and misclassification of all content of the Plaintiff and the Class and to desist

           from any further warnings or classifications;

       D. Adjudgment declaring Sections 230(c)(1) and (c)(2) of the Communications Decency

           Act of 1996 unconstitutional;

       E. An award of attorneys’ fees and costs to Plaintiff and the Class in an amount to be

           determined at trial; and

       F. An award of punitive damages to Plaintiff and the Class in an amount to be

           determined at trial.

       G. An award of such other and further relief as the Court may deem just and proper.




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Date: July 7, 2021

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